                                                                                                                                                                                         AMENDED
             Case 23-21099-jrs                        Doc 28            Filed 11/07/23 Entered 11/07/23 10:00:45                                                      Desc Main
                                                                        Document     Page 1 of 11

 Fill in this information to identify your case:

 Debtor 1
                     Jean Rhudy Steusloff
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number           23-21099
                     ___________________________________________                                                                                                         
                                                                                                                                                                         ✔ Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 1,283,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 1,944,249.68
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 3,227,249.68
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 7,719,646.60
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 7,719,646.60
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 7,431.06
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,633.91
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                                                                                                                                     AMENDED
              Case 23-21099-jrs                Doc 28          Filed 11/07/23 Entered 11/07/23 10:00:45                             Desc Main
                  Jean Steusloff
                                                               Document     Page 2 of 11
                                                                                                                         23-21099
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $_____________________



    9d. Student loans. (Copy line 6f.)                                                                     $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                    $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                                                                                                                                                       AMENDED
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 Fill in this information to identify your case:

                    Jean Rhudy Steusloff
 Debtor 1
                    First Name         Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name          Last Name



 United States Bankruptcy Court for the: Northern District of Georgia

 Case number        23-21099
 (if know)                                                                                                                                                     Check if this is
                                                                                                                                                               an amended
                                                                                                                                                               filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
        Yes. Fill in the details.
 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
       No
       Yes. Fill in the details.
                                     Debtor 1                                                                     Debtor 2

                                     Sources of income                       Gross income from each               Sources of income               Gross income from each
                                     Describe below.                         source                               Describe below.                 source
                                                                             (before deductions and                                               (before deductions and
                                                                             exclusions)                                                          exclusions)
 From January 1 of current
 year until the date you              Interest                                $ 2,548.55
 filed for bankruptcy:
                                      Dividends                               $ 58.95

                                      IRA Distributions                       $ 10,000.00

                                      Pension                                 $ 11,081.04

                                      Social Security                         $ 25,794.00


Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1 of 7
                                                                                                                                                                      AMENDED
              Case 23-21099-jrs                         Doc 28         Filed 11/07/23 Entered 11/07/23 10:00:45 Desc Main
Debtor        Jean Rhudy Steusloff
             First Name        Middle Name        Last Name
                                                                       Document     Page 4 of 11      Case number(if known) 23-21099



 For last calendar year:
                                         Dividends                              $ 3,788.00
 (January 1 to December 31,
  2022                                   Pension                                $ 47,203.00

                                         Social Security                        $ 43,490.00

                                         Interest                               $ 1,594.00

                                         IRA Distributions                      $ 55,627.00
 For the calendar year
 before that:                            Social Security                        $ 45,804.00

 (January 1 to December 31,              Interest                               $ 3,372.05
  2021
                                         Dividends                              $ 1,467.63

                                         Rental Income NC                       $ 5,000.00
                                         Condo
                                                                                $ 40,562.00
                                         Pension
                                                                                $ 56,408.00
                                         IRA Distributions


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of payment              Total amount paid             Amount you still owe   Was this payment
                                                                                                                                                  for…

                                                                                                                                                     Mortgage
                      Smith Gilliam Williams &                 7/10/2023                     $ 7,960.03                    $ 0.00                    Car
                      Creditor’s Name                          8/21/2023                                                                             Credit card
                      Miles, P.A.                                                                                                                    Loan repayment
                                                                                                                                                     Suppliers or
                      340 Jessee Jewell Pkwy SE                                                                                                   vendors
                                                                                                                                                     Other
                      Number
                                Street
                      Ste 300

                      Gainesville GA            30501
                      City           State      ZIP Code

                                                                                                                                                     Mortgage
                      DeWoskin Law Firm                        08/03/2023                    $ 38,956.98                   $ 0.00                    Car
                      Creditor’s Name                          07/25/2023                                                                            Credit card
                      535 N. McDonough Street                  07/18/2023                                                                            Loan repayment
                      Number
                                                               09/28/2023                                                                            Suppliers or
                                Street
                      Decatur GA             30030                                                                                                vendors
                                                                                                                                                     Other
                      City      State        ZIP Code


Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 7
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7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                                   Nature of the case                      Court or agency                              Status of the
                                                                                                                                                        case

    Case title:                                                    Personal Injury: Petition for                                                            Pending
    Staci Finelli v. Jean Steusloff                                Appointment of Receiver; Date            Hall County Superior Court                      On appeal
    and the Estate of Thomas                                       filed: 08/07/2023                        Court Name
    Steusloff                                                                                                                                               Concluded
    Case number:                                                                                            225 Green St SE
    2023CV001395-BCO                                                                                        Number
                                                                                                                      Street
                                                                                                            Gainesville GA        30501
                                                                                                            City          State   ZIP Code
    Case title:                                                    Personal Injury: Personal injury;                                                        Pending
    Stacy Finelli and Stacy Finelli,                               dog attack; Date filed:                  Hall County Superior Court                      On appeal
    as Administratrix of the Estate                                04/01/2022                               Court Name
    of Anthony Finelli, Deceased,                                                                                                                           Concluded
    vs. Jean Steusloff, Individually,                                                                       225 Green St SE
    and as Executor of the Estate of                                                                        Number
                                                                                                                      Street
    Thomas Steusloff                                                                                        Gainesville GA        30501
    Case number: 2022CV000557                                                                               City          State   ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.
                                                                      Describe the property                                                  Date       Value of the
                                                                                                                                                        property
                                                                       Petition for Appointment of Receiver                                   08/2023    $ 0.00
          Stacey Finelli
          Creditor’s Name                                             Explain what happened
          2429 Hawthorne Lane
                                                                            Property was repossessed.
          Number         Street
                                                                            Property was foreclosed.
          Gainesville GA               30506
                                                                            Property was garnished.
          City                State    ZIP Code
                                                                            Property was attached, seized, or levied.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes



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                 First Name            Middle Name    Last Name
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 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.
          Gifts with a total value of more than $600                    Describe the gifts                                               Dates you gave    Value
          per person                                                                                                                     the gifts
                                                                       Cash/help with tuition                                              05/30/2023       $ 3,000.00
          Randy Steusloff                                                                                                                  04/21/2023       $ 3,000.00
          Person to Whom You Gave the Gift                                                                                                 11/21/2022       $ 4,500.00
          2423 Hawthorne Lane                                                                                                              10/17/2022       $ 2,000.00
          Number                                                                                                                           08/21/2023       $ 2,500.00
                         Street
          Gainesville GA                 30506                                                                                             05/16/2022       $ 2,500.00
                                                                                                                                           08/15/2022       $ 631.00
          City                State      ZIP Code
                                                                                                                                           08/02/2022       $ 1,764.00
          Person’s relationship to you Son
                                                                                                                                           07/15/2022       $ 631.00
                                                                                                                                           06/16/2022       $ 631.00
          Gifts with a total value of more than $600                    Describe the gifts                                               Dates you gave    Value
          per person                                                                                                                     the gifts
                                                                       Cash gift                                                           12/2022          $ 2,000.00
          Garrett Steusloff                                                                                                                06/2022          $ 850.00
          Person to Whom You Gave the Gift                                                                                                 12/2021          $ 5,000.00
          105 Scoria Way
          Number
                         Street
          Holly Springs NC                 27540
          City                   State     ZIP Code
          Person’s relationship to you Son
          Gifts with a total value of more than $600                    Describe the gifts                                               Dates you gave    Value
          per person                                                                                                                     the gifts
                                                                       Cash gift                                                           01/2023          $ 1,000.00
          Timothy Rhudy                                                                                                                    12/23/2021       $ 1,000.00
          Person to Whom You Gave the Gift
          102 Ann Drive
          Number
                         Street
          Pittsfield MA               01201
          City           State        ZIP Code
          Person’s relationship to you Brother
          Gifts with a total value of more than $600                    Describe the gifts                                               Dates you gave    Value
          per person                                                                                                                     the gifts
                                                                       Cash gift                                                           12/2022          $ 700.00
          Steve Rhudy                                                                                                                      12/2021          $ 700.00
          Person to Whom You Gave the Gift
          2214 Hale's Road
          Number
                         Street
          Raleigh NC              27608
          City          State     ZIP Code
          Person’s relationship to you Brother

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.
          Describe the property you lost and how                        Describe any insurance coverage for the loss                     Date of your loss Value of
          the loss occurred                                                                                                                                property lost
                                                                        Include the amount that insurance has paid. List pending
                                                                        insurance claims on line 33 of Schedule A/B: Property.
         Total loss of 2015 Nissan Altima                              $9435.86 less $1000 deductible                                     08/2023           $ 9,435.86



Official Form 107                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4 of 7
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                 First Name         Middle Name   Last Name
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 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                    Description and value of any property transferred                Date payment or Amount of
                                                                                                                                     transfer was    payment
                                                                                                                                     made
                                                                                                                                       09/2023        $ 50,000.00
          Rountree Leitman Klein & Geer, LLC                                                                                                          $
          Person Who Was Paid
          2987 Clairmont Rd
          Number
                         Street
          Suite 350

          Atlanta GA              30329
          City         State      ZIP Code
          rlkglaw.com
          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else




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               First Name     Middle Name    Last Name
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23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                page 6 of 7
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Debtor         Jean Rhudy Steusloff
              First Name         Middle Name   Last Name
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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Jean Rhudy Steusloff
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 11/06/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7 of 7
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Fill in this information to identify your case:

Debtor 1           Jean Rhudy Steusloff
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                               (State)
Case number         23-21099
                    ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                      ■

                                                                                                                                          amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                     12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Jean Rhudy Steusloff
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              11/06/2023
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed the foregoing Amended Statement

of Financial Affairs for Individuals Filing for Bankruptcy; Amended Summary of Your Assets and

Liabilities and Certain Statistical Information; and Declaration About an Individual Debtor’s

Schedules (the “Schedules”) using the Bankruptcy Court’s Electronic Case Filing program, which

sends a notice of this document and an accompanying link to this document to the following parties

who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

David S. Weidenbaum
david.s.weidenbaum@usdoj.gov



       This 7th day of November, 2023.
                                                     /s/ Caitlyn Powers
                                                     Caitlyn Powers
